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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA


ALLEGHENY COUNTY EMPLOYEES’                Case No. 2:20-cv-00200-GAM
RETIREMENT SYSTEM, EMPLOYEES’
RETIREMENT SYSTEM OF THE CITY OF
BATON ROUGE AND PARISH OF EAST
BATON ROUGE, DENVER EMPLOYEES
RETIREMENT PLAN, INTERNATIONAL
ASSOCIATION OF MACHINISTS AND
AEROSPACE WORKERS NATIONAL
PENSION FUND, and IOWA PUBLIC
EMPLOYEES’ RETIREMENT SYSTEM,
Individually and On Behalf of All Others
Similarly Situated,

                         Plaintiffs,

      v.

ENERGY TRANSFER LP, KELCY L.
WARREN, THOMAS E. LONG,
MARSHALL MCCREA, and MATTHEW S.
RAMSEY.

                         Defendants.


       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
          FOR CLASS CERTIFICATION AND APPOINTMENT OF
           CLASS REPRESENTATIVES AND CLASS COUNSEL
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       Plaintiffs1 respectfully submit this memorandum of law in support of their motion to:

(i) certify this case as a class action under Federal Rules of Civil Procedure 23(a) and (b)(3);

(ii) appoint Plaintiffs as Class Representatives; and (iii) appoint Co-Lead Counsel Bernstein

Litowitz Berger & Grossmann LLP (“BLB&G”) and Barrack Rodos & Bacine (“Barrack Rodos”)

as Class Counsel under Fed. R. Civ. P. 23(g).2

                               PRELIMINARY STATEMENT

       Courts in the Third Circuit have long “observed that class actions are a particularly

appropriate and desirable means to resolve claims based on the securities laws, since the

effectiveness of the securities laws may depend in large measure on the application of the class

action device.” In re DVI Inc. Sec. Litig., 249 F.R.D. 196, 200 (E.D. Pa. 2008); see also, e.g., In

re DaimlerChrysler AG Sec. Litig., 216 F.R.D. 291, 300 (D. Del. 2003) (“Class actions are favored

in securities fraud cases in this Circuit.”). This case is no exception, as Defendants’ federal



1
  Plaintiffs are the Court-appointed Lead Plaintiffs Allegheny County Employees’ Retirement
System (“Allegheny County”), the Employees’ Retirement System of the City of Baton Rouge and
Parish of East Baton Rouge (“Baton Rouge”), the Denver Public Employees Retirement Plan
(“DERP”), the International Association of Machinists and Aerospace Workers National Pension
Fund (“IAMNPF”), and the Iowa Public Employees’ Retirement System (“IPERS”). In this brief,
emphasis in quotations is added and internal citations and quotation marks are omitted, except
when otherwise noted. References to “Ex. __” are to the accompanying Declaration of Jeffrey W.
Golan and John C. Browne in Support of Plaintiffs’ Motion for Class Certification and
Appointment of Class Representatives and Class Counsel (the “Joint Declaration”). References to
“¶__” are to the operative Class Action Complaint for Violation of the Federal Securities Laws
(the “Complaint”), ECF No. 43. References to “Coffman Rpt.” are to the accompanying Report
on Market Efficiency by Chad Coffman, CFA, filed contemporaneously herewith.
2
 The Class consists of all persons who purchased or otherwise acquired common units of Energy
Transfer LP (“Energy Transfer” or the “Partnership”) between February 25, 2017 and December
2, 2019, inclusive (the “Class Period”), and who were damaged thereby. Excluded from the Class
are (i) Energy Transfer; (ii) any directors and officers of Energy Transfer during the Class Period
and members of their immediate families, (iii) the subsidiaries, parents and affiliates of Energy
Transfer; (iv) any firm, trust, corporation or other entity in which Energy Transfer has or had a
controlling interest; and (v) the legal representatives, heirs, successors and assigns of any such
excluded party. ¶476.
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securities law violations injured Plaintiffs and many thousands of Class members in the same

manner. Thus, Fed. R. Civ. P. 23(a)’s requirements are easily satisfied here:

       1.    Numerosity: At least thousands of investors acquired millions of nationally-traded
       Energy Transfer common units during the Class Period.

       2.     Commonality and Typicality: Defendants made the same materially false and
       misleading statements and omitted the same material facts when speaking to all of Energy
       Transfer’s investors.

       3.      Adequacy: Plaintiffs are institutional investors that have retained highly-qualified
       counsel. Moreover, they have zealously advocated on behalf of the Class in this action to
       date, and will continue to do so.

       Fed. R. Civ. P.’s 23(b)(3)’s requirements are likewise satisfied:

       1.      Predominance: The core elements of the claims here, including falsity and
       materiality, are entirely susceptible to common proof. Further, reliance may be presumed
       for Plaintiffs’ Section 10(b) claim and the related Section 20(a) claim.

       2.     Superiority: Defendants’ conduct damaged thousands of geographically-dispersed
       investors, making a class action the superior method for adjudicating the claims and
       defenses here in a judicially efficient manner.

       Accordingly, Plaintiffs’ motion for class certification should be granted.

                                  STATEMENT OF FACTS

       A.      Summary of the Allegations

       This securities class action concerns Energy Transfer’s scheme to construct some of the

most dangerous pipelines in the United States – the Revolution, Mariner East 2 (“ME2”) and

ME2X (the “Pipeline Projects”) – while hiding from investors the serious safety risks that

threatened local citizens and construction setbacks that jeopardized the pipelines’ completion

timelines and throughput. ¶3. Energy Transfer designed the Pipeline Projects to carry large

amounts of natural gas liquids (“NGLs”) – highly explosive, odorless and colorless gases – from

the Marcellus shale gas fields in western Pennsylvania to the Marcus Hook port near Philadelphia,




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for export overseas. ¶7. The ME2 pipeline itself traverses 350 miles, 17 Pennsylvania counties,

570 wetlands, 1,200 streams, and 2,700 properties. ¶72.

       In order to obtain the permits for the highly dangerous Pipeline Projects, the Partnership

exerted undue pressure on regulators and government officials, including on Pennsylvania

Governor Tom Wolf’s office and the Pennsylvania Department of Environmental Protection

(“DEP”). ¶¶87, 102-15, 121-22. This undue pressure resulted in, among other things, Energy

Transfer obtaining the permits despite hundreds of known deficiencies in the Partnership’s permit

applications. ¶¶110, 118-19. Underscoring the atypical, suspicious nature of this permit approval

process, on November 12, 2019, the Associated Press reported that the FBI was interviewing

current and former state employees about the issuance of permits for Mariner East. ¶25.

       With permits in hand and construction underway, Energy Transfer repeatedly told investors

that the ME2 project was on track to finish construction by specific deadlines and attain specific

throughput of 275,000 to 450,000 barrels/day. ¶¶15-16. However, to transport the NGLs across

Pennsylvania’s varied geography, with its known rock and soil formations that are prone to

sinkholes and other disasters, and through densely-populated areas, Energy Transfer was required

to use horizontal directional drilling (“HDD”), which – combined with the co-location of the

Pipeline Projects alongside one another and an earlier laid Mariner East 1 pipeline (“ME1”) –

created substantial risks that Energy Transfer ignored. ¶¶10-12, 51-53, 55, 59. Once Energy

Transfer began constructing the Pipeline Projects, it ran into serious delays caused by landslides,

sinkholes and frac-outs that prevented it from completing the Pipeline Projects on time and with

the promised throughput. ¶¶11, 12, 16, 127, 170, 332-365. Energy Transfer concealed from

investors that its construction efforts were running into intractable problems and even necessitated

the use of a large-scale “workaround” – connecting ME2 to an already-constructed smaller pipeline




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– in order to meet deadlines in Energy Transfer’s customer contracts. ¶¶18, 128, 133, 144-61,

168-71, 243-48, 278-325.

       Throughout the permitting and construction processes for the Pipeline Projects, Defendants

assured investors that the Partnership’s business activities complied with Energy Transfer’s Code

of Conduct (the “Code”), which asserted that “the policies of the Company require that the business

of the Partnership Group be conducted in a lawful and ethical manner.” ¶¶63-64. The Code also

prohibited Partnership executives and employees from providing anything of value to government

officials, specifically by banning “sensitive” payments to “secure special treatment for the

Partnership Group” as well as attempts to “disguise” sensitive payments in “any . . . manner.”

¶¶65-66; see also ¶68.

       In violation of the Code’s provisions requiring Partnership business to be “conducted in a

lawful and ethical manner” (¶¶63-64), Energy Transfer had used coercion to gain approval for the

ME2 construction permits and then violated those permits by using prohibited construction

techniques and ignoring serious safety risks. ¶¶14, 399. When those reckless tactics resulted in

construction delays that pushed back the Pipeline Projects’ in-service dates and resulted in their

decreased throughput, Defendants misled investors by assuring them that construction of the

Pipeline Projects remained on schedule, when in reality it was falling behind. ¶¶14, 399.

       In addition, in contravention of the Code’s provisions prohibiting “sensitive” payments to

government officials and “disguis[ing]” such payments (¶¶65-66, 163-64), Energy Transfer hired

Pennsylvania Constables, pursuant to an “unwritten policy” at the Partnership, to provide security

for ME2 construction, including in a residential neighborhood in West Whiteland Township, PA

(“Lisa Drive”). ¶165-66. Energy Transfer disguised its payments to the Pennsylvania Constables

using a maze of transactions with a series of its contractors and subcontractors. ¶¶204, 209. In




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connection with these practices, on August 8 and December 3, 2019, the Chester County District

Attorney announced criminal charges for bribery and conspiracy against the Constables hired to

work at Lisa Drive and against the Energy Transfer security chief for the Pipeline Projects. ¶¶186-

209.

       Defendants’ materially false and misleading statements to investors included their

(1) misstatements concerning the status of the Pipeline Projects’ completion timelines and ME2’s

throughput, as well as their failure to disclose myriad technical mishaps and safety violations

delaying construction; (2) false assurances that the Partnership was constructing the pipelines

safely and in an environmentally conscious manner; and (3) concealment of their violations of

Pennsylvania criminal law and misstatements about their compliance with the Partnership’s Code

of Conduct. The relevant truth was revealed to the market through a series of corrective disclosure

events. ¶¶400-408, 410-21, 423-32.

       First, on August 9, 2018, on a pre-market conference call with investors, Energy Transfer

disclosed that it would only be able to meet its prior projections of having ME2 in-service by the

end of September 2018 if it routed the NGLs through an already-constructed 12-inch diameter

pipeline in areas where the authorities had halted construction, rather than waiting to complete

construction of the new 20-inch diameter line. ¶ 401. Energy Transfer claimed this jury-rigged

solution would “avoid any delays in the ME2 project schedule” and, on the earnings call,

Defendant Ramsey admitted the pipeline remained unfinished, but assured investors that there was

only “1%” of construction remaining to be completed. ¶ 401-402. News of the makeshift pipe

solution and the delayed completion of the actual ME2 pipeline caused analysts to deem the

disclosure “confusing.” See ¶¶404-07. For example, Wolfe Research noted that “ME2 may not

reach full capacity” “until 4Q20” due to “using a hodgepodge of different sized pipes that will then




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be re-worked / upsized over time.” ¶405. Similarly, Wells Fargo published a report noting that

ME2 would only have an initial capacity of 100 million barrels per day, a nearly 65% reduction in

capacity compared to what Defendants had claimed ME2’s throughput would be only two months

earlier. ¶406. Wells Fargo also noted that ME2’s reduced throughput and delayed completion

would have a material negative impact on Energy Transfer’s quarterly earnings, and that

construction would likely cost approximately $6 billion – twice as much as the $3 billion figure

Defendants had previously quoted. ¶¶406-07. Disclosure of ME2’s reduced throughput and

delayed completion caused Energy Transfer’s per unit price to plummet 5.6%, from $18.45 per

unit at closing on August 8, 2018 to $17.41 per unit at closing on August 13, 2018. ¶408.

       Second, on October 29, 2018, the Pennsylvania DEP ordered construction of Energy

Transfer’s Revolution Pipeline to cease, after inspections the prior week revealed “unreported

landslides and erosion off the [Revolution] pipeline’s construction sites into nearby streams.”

¶411.3 In response to these disclosures, Energy Transfer’s per unit price fell from a closing price

of $15.46 per unit on Friday, October 26, 2018, to a closing price of $14.84 per unit on Monday,

October 29, 2018. ¶412.

       Third, on December 19, 2018, Tom Hogan, District Attorney for Chester County,

announced his office would “bring into play all of the tools of the criminal justice system” against

Energy Transfer, following numerous incidents of sinkholes appearing within feet of residential

dwellings. ¶413. Hogan said that his office had been observing “these pipelines rip through the

heart of Chester County” and received reports of “not-so-subtle bullying of Chester County


3
  In addition, on Saturday, October 27, 2018, the Associated Press reprinted an exposé from the
Pittsburgh Post-Gazette detailing Energy Transfer’s failure to disclose the risks Pennsylvania’s
geology posed to the Pipeline Projects. ¶410. Specifically, the article highlighted how Energy
Transfer’s rush to construct pipelines resulted in numerous tragedies and setbacks for Pennsylvania
residents. Id.


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citizens by big corporate interests.” Id. Hogan said he expected the state government and

Governor Wolf “to step in and assure the safety of Pennsylvanians” but “[t]hey have not.” Id.

Reuters disseminated news of Hogan’s investigation just before the market close on December 20,

2018. News of the DA’s investigation caused Energy Transfer’s per unit price to fall from a

closing price of $12.94 on December 18, 2018, to a closing price of $12.24 per unit on December

21, 2018. ¶416.

       Fourth, on August 8, 2019, following his office’s months-long investigation, DA Hogan

arrested and charged two Pennsylvania Constables for their work as private security guards at Lisa

Drive. ¶418. News of the arrests broke on local Philadelphia outlets just before the market closed

that day and Energy Transfer misleadingly claimed that the two men “were not Sunoco or Energy

Transfer employees.” ¶¶418, 422. In response to news of the Constables’ arrests, on Friday,

August 9, 2019, the price of Energy Transfer units fell $0.13 to close at $13.90 per unit, continuing

their downward slide on Monday, August 12, 2019, to close at $13.38 per unit, for a total overall

decline of 4.6%. ¶421.

       Fifth, near the end of trading on November 12, 2019, the Associated Press published an

article titled “FBI eyes how Pennsylvania approved pipeline,” which reported that “the focus of

agents’ questions involves the permitting of the pipeline, whether Wolf and his administration

forced environmental protection staff to approve construction permits and whether Wolf or his

administration received anything in return.” ¶423. That same day, the Philadelphia Inquirer

published an article on the FBI investigation and wrote that “[t]he federal probe has been running

for at least six months.” ¶424. News of the FBI probe stunned the market, as the price of Energy

Transfer units fell 2.6% to close at $11.66 per unit on November 12, 2019, and continued to fall a

further 4.3% on November 13, 2019 to close at $11.16 per unit. ¶425.




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       Sixth, on December 3, 2019, Chester County DA Hogan filed criminal charges against the

Energy Transfer employee in charge of security for the Mariner East pipeline, as well as four other

individuals involved in what was termed a “buy-a-badge” program. ¶¶427, 429. Calling it a

“simple case,” Hogan stated in a press release, “State Constables sold their badges and official

authority. Energy Transfer bought those badges and authority, then used them as a weapon to

intimidate citizens.” Id. In response to those charges, the price of Energy Transfer units fell 2.0%

from a closing price of $11.63 on December 2, 2019 to closing price of $11.40 on December 3,

2019. ¶431.

       To recover the significant financial harm to the Class, Plaintiffs brought this action, and in

April 2021, following extensive briefing and oral argument, this Court denied in part and granted

in part Defendants’ motion to dismiss.

       B.      The Proposed Class Representatives

       On February 17, 2020, the Court appointed Allegheny County, Baton Rouge, DERP,

IAMNPF, and IPERS as Lead Plaintiffs. ECF No. 17. The proposed Class Representatives are

all defined benefit pension plans that provide retirement income benefits to their participants.

Collectively, they purchased or otherwise acquired more than 8.772 million shares of Energy

Transfer units during the Class Period and suffered more than $24 million in losses. See ECF Nos.

4-1, 11.

                                          ARGUMENT

       The Supreme Court has repeatedly emphasized the importance of private class actions in

redressing violations of the federal securities laws, and courts in this Circuit overwhelmingly find

securities fraud actions appropriate for class treatment. See, e.g., Tellabs, Inc. v. Makor Issues &

Rights, Ltd., 551 U.S. 308, 313, 320 (2007) (“This Court has long recognized that meritorious

private actions to enforce federal antifraud securities laws are an essential supplement to criminal


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prosecutions and civil enforcement actions[.]”); In re Constar Int’l Inc. Sec. Litig., 585 F.3d 774,

778 (3d Cir. 2009); In re Celgene Corp. Sec. Litig., 2020 WL 8870665, at *1 (D.N.J. Nov. 29,

2020); In re Advance Auto Parts Sec. Litig., 2020 WL 6544637, at *1 (D. Del. Nov. 6, 2020). Rule

23 allows for effective enforcement of the securities laws for large numbers of injured investors,

and a class action conserves judicial resources by providing a single forum to litigate investors’

claims. By this motion, Plaintiffs “affirmatively demonstrate” that Rule 23’s requirements are

satisfied, Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011), by a preponderance of the

evidence, see In re Blood Reagents Antitrust Litig., 783 F.3d 183, 187 (3d Cir. 2015), and the Class

should be certified.

       While the Court’s analysis in deciding whether to grant a class certification motion

frequently overlaps with “the merits of the plaintiff’s underlying claim,” Dukes, 564 U.S. at 351,

“Rule 23 grants courts no license to engage in free-ranging merits inquiries at the certification

stage.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013); see also Goldman

Sachs Grp., Inc. v. Ark. Teacher Ret. Sys., 141 S. Ct. 1951, 1959 (2021) (“materiality should be

left to the merits stage because it does not bear on Rule 23’s predominance requirement”). “Merits

questions may be considered to the extent – but only to the extent – that they are relevant to

determining whether the Rule 23 prerequisites for class certification are satisfied.” Id.

I.     THE PROPOSED CLASS SATISFIES THE REQUIREMENTS OF RULE
       23(a)

       Under Rule 23(a), plaintiffs must show that (1) the class is so numerous that joinder of all

the members is impracticable (“numerosity”); (2) there are questions of law or fact common to the

class (“commonality”); (3) plaintiffs’ claims are typical of the class (“typicality”); and (4) the

representative parties fairly and adequately protect the class’s interests (“adequacy”). See, e.g.,

Constar, 585 F.3d at 780. The proposed class satisfies all four requirements.



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       A.      The Class Is Sufficiently Numerous

       To establish numerosity, a plaintiff is not required to “offer direct evidence of the exact

number and identities of the class members.” Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 596

(3d Cir. 2012). Instead, “circumstantial evidence specific to the products, problems, parties, and

geographic areas actually covered by the class definition” is sufficient. Id. Moreover, “[a]lthough

[n]o minimum number of plaintiffs is required to maintain a suit as a class action, if the potential

number of plaintiffs is more than forty, the first prong of Rule 23(a) has been met.” Norman v.

Trans Union, LLC, 479 F. Supp. 3d 98, 135 (E.D. Pa. 2020) (McHugh, J.) (citing In re Modafinil

Antitrust Litig., 837 F.3d 238, 249 (3d Cir. 2016)); see also Utesch v. Lannett Co., Inc. et al., 2021

WL 3560949, at *3 (E.D. Pa. Aug. 12, 2021) (same).

       The proposed Class readily satisfies the numerosity requirement. First, throughout the

Class Period, Energy Transfer’s units traded on the New York Stock Exchange (“NYSE”). The

numerosity requirement “is readily met in securities cases involving an issuer whose stock trades

publicly on the [NYSE].” City of Sterling Heights Gen. Emps.’ Ret. Sys. v. Prudential Fin., Inc.,

2015 WL 5097883, at *8 (D.N.J. Aug. 31, 2015). Here, an average of 5 million units of Energy

Transfer traded on days without any news, SEC filings, or analyst reports about Energy Transfer.

Coffman Rpt. ¶65. On the eleven days surrounding earnings announcements for Energy Transfer

during the Class Period, the average daily trading volume skyrocketed to 12.2 million units. Id.

Second, during the Class Period, there was a minimum of 1.079 billion Energy Transfer units

outstanding. Id. ¶69. Third, more than 1,220 institutional investors purchased or otherwise

acquired Energy Transfer units during the Class Period. Id. ¶74. Based on this trading volume,

shares outstanding, and number of institutional investors, it can be credibly inferred that many

thousands of investors owned and traded Energy Transfer units during the Class Period, and these

facts establish numerosity. See Utesch, 2021 WL 3560949, at *3 (finding numerosity established


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by preponderance of evidence where stock traded on NYSE, a minimum of 35.6 million shares

were outstanding, and 12% of outstanding shares traded on a weekly average); W. Palm Beach

Police Pension Fund v. DFC Global Corp., 2016 WL 4138613, at *7 (E.D. Pa. Aug. 4, 2016)

(numerosity satisfied where millions of shares were outstanding).

       B.      Many Questions of Law and Fact Are Common to the Class

       Establishing commonality under Rule 23(a)(2) requires plaintiffs to demonstrate that their

claims “depend upon a common contention,” the resolution of which “will resolve an issue that is

central to the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338, 350 (2011). Commonality “does not require identical claims or facts among class

members.” Marcus, 687 F.3d at 597-98. “For purposes of Rule 23(a)(2), even a single common

question will do.” Dukes, 564 U.S. at 359; see also Reyes v. Netdeposit, LLC, 802 F.3d 469, 486

(3d Cir. 2015) (Rule 23(a)(2) satisfied were class representatives share “at least one question of

fact or law with the grievances of the prospective class.”); Norman, 479 F. Supp. 3d at 139-40

(finding commonality under Rule 23(a)(2) satisfied).

       “Courts in this Circuit have recognized that securities fraud cases often present a

paradigmatic common question of law or fact of whether a company omitted material information

or made misrepresentations that inflated the price of its stock.” Roofer’s Pension Fund v. Papa,

333 F.R.D. 66, 74-75 (D.N.J. 2019). For example, to establish scienter, the inquiry “necessarily

focus[es] on [Defendants’] actions” with questions raised in the inquiry answered “from an

examination of what [Defendants] did and said,” not “from the perspective of each prospective

class member.” See Utesch, 2021 WL 3560949, at *4 (finding “classwide answers to these

questions lead inexorably to the conclusion” that commonality is satisfied). This case is no

different. Here the common questions include, among others: (i) whether Defendants violated the

federal securities laws; (ii) whether Defendants’ public statements during the Class Period


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misrepresented or omitted material facts in order to make the statements made, in light of the

circumstances under they were made, not misleading; (iii) whether Defendants acted with scienter

in issuing false and misleading statements, knowingly or recklessly disregarding that their

statements and omissions were false; (iv) whether the price of Energy Transfer units was

artificially inflated by Defendants’ statements; and (v) whether Defendants’ conduct caused the

members of the Class to sustain damages and total class-wide damages. The resolution of these

common questions will drive the outcome of this litigation, and class members would have to

address the same issues if the claims were pursued individually.

       As the Court stated in Sullivan v. DB Invs., Inc., 667 F.3d 273, 299 (3d Cir. 2011), class

certification is appropriate here because these common questions will “generate common answers

apt to drive the resolution of the litigation.” See also In re Merck & Co., Inc., Vytorin/Zetia Sec.

Litig., 2012 WL 4482041, at *4 (D.N.J. Sept. 25, 2012) (“questions of misrepresentation,

materiality and scienter are the paradigmatic common question[s] of law or fact”) (alteration in

original). Thus, the commonality prerequisite is satisfied.

       C.      The Proposed Class Representatives’ Claims Are Typical

       Rule 23(a)(3)’s typicality requirement “centers on whether the interests of the named

plaintiffs align with the interests of the absent members.” Stewart v. Abraham, 275 F.3d 220, 227

(3d Cir. 2001). In assessing typicality, courts in the Third Circuit generally consider three factors:

       (1)     The claims of the class representatives must be generally the same as those of the
               class in terms of both (a) the legal theory advanced, and (b) the factual
               circumstances underlying the theory;

       (2)     The class representative must not be subject to a defense that is both inapplicable
               to many class members and likely to become a major focus of the litigation; and

       (3)     The interests and incentives of the class representative must be sufficiently aligned
               with those of the class.




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In re Schering Plough Corp. ERISA Litig., 589 F.3d 585, 599 (3d Cir. 2009). “[C]lass members

need not share identical claims, and cases challenging the same unlawful conduct which affects

both the named plaintiffs and the putative class usually satisfy the typicality requirement

irrespective of the varying fact patterns underlying the individual claims.” In re NFL Players

Concussion Injury Litig., 821 F.3d 410, 428 (3d Cir. 2016). “Factual differences involving the

date of acquisition, type of securities purchased and manner by which the investor acquired the

securities will not destroy typicality if each class member was the victim of the same material

misstatements and the same fraudulent course of conduct.” In re Marsh & McLennan Cos., Inc.

Sec. Litig., 2009 WL 5178546, at *10 (S.D.N.Y. Dec. 23, 2009).

       Here, Plaintiffs’ claims are typical of, if not virtually identical to, the claims of other

members of the Class, as they arise from the same events, invoke the same legal theories, are

subject to the same defenses, and will be proven with the same evidence. Like other members of

the Class, Plaintiffs assert that they, and all other Class members, purchased Energy Transfer units

at artificially inflated prices due to Defendants’ fraud. See In re Merck & Co., Inc. Sec., Derivative

& ERISA Litig., 2013 WL 396117, at *6 (D.N.J. Jan. 30, 2013) (typicality established where “[t]he

class claims . . . arise out of the same conduct – transactions in Merck securities that were based

on an allegedly artificially inflated stock price as a result of Defendants’ misrepresentations and

omissions concerning the safety profile of Vioxx”). Accordingly, Plaintiffs and Class members

share common claims and identical interests in holding Defendants accountable and maximizing

investors’ recovery, satisfying Rule 23(a)(3).

       D.      The Proposed Class Representatives Will Fairly and Adequately Protect the
               Class’s Interests

       To meet the requirement under Rule 23(a)(4) that the class representatives “fairly and

adequately protect the interests of the class,” the district court must find that (1) the class



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representatives’ interests do not “conflict with those of the class,” and (2) the proposed class

counsel are “capable of representing the class.” Newton v. Merrill Lynch, Pierce, Fenner & Smith,

Inc., 259 F.3d 154, 185 (3d Cir. 2001). These criteria are readily met here.4

       First, both Plaintiffs and the other Class members acquired and held Energy Transfer units

during the Class Period and were damaged as a result of the same alleged false and misleading

statements and omissions by Defendants.

       Second, Plaintiffs have a meaningful financial stake in this litigation and have

demonstrated their willingness and ability to vigorously litigate this matter to protect the Class.

“A class representative need only possess a minimal degree of knowledge . . . to meet the adequacy

standard” in the Third Circuit, and Plaintiffs clear that threshold by a wide margin. See New

Directions Treatment Servs. v. City of Reading, 490 F.3d 293, 313 (3d Cir. 2007). As stated in

their respective Declarations, each Plaintiff (a) understands the requirements and responsibilities

of serving as a Class Representative; (b) has reviewed the key pleadings to date; (c) will continue

to monitor and assess the progress of this litigation; and (d) will work with counsel to maximize

the Class’s recovery. See Exs. 1-5. Plaintiffs also filed a Complaint with a comprehensive set of

claims, successfully defended many of those claims against a motion to dismiss, and have

vigorously pursued discovery from Defendants and relevant third parties. See id.

       Third, Plaintiffs have demonstrated their adequacy by retaining well-qualified counsel

with the experience and demonstrated ability to successfully litigate this action on behalf of the



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  To preclude class certification, an alleged conflict of interest between the class representative
and other class members “must be fundamental, and speculative conflict should be disregarded at
the class certification stage.” In re K-Dur Antitrust Litig., 2008 WL 2699390, at *9 (D.N.J. Apr.
14, 2008). “A fundamental conflict exists where some [class] members claim to have been harmed
by the same conduct that benefitted other members of the class.” Dewey v. Volkswagen
Aktiengesellschaft, 681 F.3d 170, 184 (3d Cir. 2012). There is no such situation here.


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Class. Both BLB&G and Barrack Rodos are among the preeminent securities class action law

firms in the country, having recovered billions of dollars in some of the largest and most complex

securities class actions in history. See ECF Nos. 4-13 & 4-14. BLB&G and Barrack Rodos have

also both previously been recognized as adequate Class Counsel by courts in this Circuit and

throughout the country. See id. The two firms also have experience in successfully prosecuting

securities class actions together. See Joint Declaration ¶¶9-10.

II.    THE PROPOSED CLASS SATISFIES THE REQUIREMENTS OF RULE
       23(b)(3)

       This case also satisfies Rule 23(b)(3)’s requirements that (1) common questions of law or

fact predominate over individual questions, and (2) a class action is superior to alternative methods

of resolving the dispute. See Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 615 (1997).

       A.      Common Factual and Legal Questions Predominate

       Predominance under Rule 23(b)(3) “is a test readily met in certain cases alleging consumer

or securities fraud.” Amchem, 521 U.S. at 625. Where common questions of law or fact outnumber

those affecting only individual class members, predominance is satisfied. Neale v. Volvo Cars of

N. Am., LLC, 794 F.3d 353, 371 (3d Cir. 2015); see also Amgen, 568 U.S. at 459 (“Rule 23(b)(3)

requires a showing that questions common to the class predominate, not that those questions will

be answered, on the merits, in favor of the class.”) (emphasis in original). Common question may

predominate even where differences between class members exist. Neale, 794 F.3d at 371.

       Here, the Class’s claims all arise from the same course of conduct and will be proven

through common evidence, and the Class’s injuries are all predicated on the same artificial

inflation and subsequent decline in Energy Transfer’s unit price after the truth was exposed. See

supra § I.B. Common questions further predominate in this action because the Class is entitled to

a presumption of reliance for Plaintiffs’ Section 10(b) claims. See Erica P. John Fund, Inc. v.



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Halliburton Co., 563 U.S. 804, 810 (2011) (in federal securities fraud actions, “[w]hether common

questions of law or fact predominate … often turns on the element of reliance”). The Supreme

Court has identified two circumstances in which courts may employ a rebuttable presumption of

reliance for securities class actions: (1) where there has been “fraud on the market,” Basic Inc. v.

Levinson, 485 U.S. 224, 241, 248 (1988); and (2) where the defendant failed to disclose facts it

was under a duty to disclose, see Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128,

153 (1972). Both circumstances are present here.

               1.      Plaintiffs’ Section 10(b) Claims Are Entitled to a Presumption of
                       Reliance Under Basic v. Levinson

       The predominance requirement is satisfied here through the fraud-on-the-market

presumption of reliance for Plaintiffs’ Section 10(b) claims.       See Basic, 485 U.S. at 241;

Halliburton Co. v. Erica P. John Fund, Inc. (“Halliburton II”), 573 U.S. 258, 263-64, 268-69

(2014); Amgen, 568 U.S. at 460-62. Under the fraud-on the-market presumption, if the market for

a security is efficient, reliance on material public misrepresentations may be presumed whenever

an “investor buys or sells stock at the market price” because “the market price of shares traded on

well-developed markets reflects all publicly available information, and, hence any material

misrepresentations.” Halliburton II, 573 U.S. at 268 (quoting Basic, 485 U.S. at 246-47).

       In determining whether a market for a security is well-developed and efficient, courts rely

principally on the five factors enumerated in Cammer v. Bloom, 711 F. Supp. 1264, 1285-87

(D.N.J. 1989): (1) the stock’s average weekly trading volume; (2) coverage of the stock in

securities analyst reports; (3) the number of market makers; (4) the company’s eligibility to file a

registration statement on Form S-3; and (5) stock price reaction to unexpected corporate events or

financial releases. See Roofer’s, 333 F.R.D. at 81; see also DVI, 639 F.3d at 634, n.16. These

factors are an “analytical tool” and not a “checklist.” In re Advance Auto Parts, Inc. Sec. Litig.,



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2020 WL 6544637, at *3 (D. Del. Nov. 6, 2020). Courts also frequently consider the factors

enumerated in Krogman v. Sterritt, 202 F.R.D. 467, 474 (N.D. Tex. 2001): (1) the company’s

market capitalization; (2) the security’s bid-ask spread; and (3) the size of the public float. See

Advance Auto Parts, 2020 WL 6544637 at *2. Here, all of the Cammer factors and the Krogman

factors support the conclusion that the market for Energy Transfer units was efficient.

                       a.     First Cammer Factor: High Average Trading Volume

       A high weekly trading volume is indicative of market efficiency because it “implies

significant investor interest in the company” which, “in turn, implies a likelihood that many

investors are executing trades on the basis of newly available or disseminated corporate

information.” Cammer, 711 F. Supp. at 1286; see also In re DVI Inc. Sec. Litig., 249 F.R.D. 196,

208 (E.D. Pa. 2008) (same). An “[a]verage weekly trading volume of 2% or more of outstanding

securities justifies a ‘strong presumption’ of an efficient market for that security.” In re Winstar

Commc’ns Sec. Litig., 290 F.R.D. 437, 447 (S.D.N.Y. 2013) (citing Cammer, 711 F. Supp. at

1286). Throughout the Class Period, Energy Transfer units traded actively, with an average of at

least 5 million units changing hands daily and an average weekly trading volume of approximately

40.2 million units, or 2.38% of units outstanding. Coffman Rpt. ¶¶28, 65. Consistent with

Cammer, economic theory, and empirical research, this high, active trading volume is strong

evidence of the efficiency of the market for Energy Transfer units over the course of the Class

Period. See id. ¶¶26-31.

                       b.     Second Cammer Factor: Securities Analyst Coverage

       “Extensive coverage by securities analysts likewise indicates market efficiency, since the

price of a company’s security is often affected by analysts’ reports of information learned through

their own investigation and analysis.” DVI, 249 F.R.D. at 209 (citing Cammer, 711 F. Supp. at

1286). During the Class Period, analysts from at least 17 brokerage firms followed Energy


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Transfer and issued at least 224 reports. See Coffman Rpt. ¶34. Energy Transfer was also the

subject of at least 4,054 news articles. See id. ¶36. This extensive coverage also compellingly

shows market efficiency. See DVI, 249 F.R.D. at 210 (coverage by three analysts was “sufficient

to favor a finding of market efficiency”).

                       c.     Third Cammer Factor: Listing and Market Makers

       The presence of market makers and arbitrageurs also supports a finding of market

efficiency, as these market participants “would react swiftly to company news and reported

financial results by buying or selling stock and driving it to a changed price level.” Cammer, 711

F. Supp. at 1286-87. A large number of market makers indicates market efficiency because it

implies that many market participants are trading that particular stock and generally provides a

high degree of liquidity and lower transaction costs. See Coffman Rpt. ¶¶39-41. Here, Energy

Transfer units trade on the NYSE, and “Third Circuit courts have consistently found that the NYSE

is an efficient market for stock traded thereon.” Roofer’s, 333 F.R.D. at 80 n.8 (collecting cases);

see also Todd v. STAAR Surgical Co., 2017 WL 821662, at *6 (C.D. Cal. Jan. 5, 2017) (“[T]he

federal courts are unanimous in their agreement that a listing on the NASDAQ or a similar national

market is a good indicator of efficiency.”). Through the NYSE, Energy Transfer investors had

access to a highly developed network of brokers. During the Class Period, there were at least 122

market makers for Energy Transfer units. See Coffman Rpt. ¶42. These facts also strongly support

market efficiency.

                       d.     Fourth Cammer Factor: Eligibility to File Form S-3

       A company’s eligibility to file a Form S-3 Registration Statement with the SEC is

indicative of market efficiency because the ability to file these forms indicates that the company

is easily able to issue new securities. DVI, 249 F.R.D. at 210 & n.23. A company is eligible to

file a Form S-3 Registration Statement if it has filed SEC reports for 12 consecutive months and


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has at least $75 million of float. See 17 C.F.R. § 239.13. Throughout the Class Period, Energy

Transfer met the requirements for issuing securities pursuant to a Form S-3 Registration Statement.

See Coffman Rpt. ¶¶43-45. Thus, this factor also weighs in favor of finding market efficiency.

See, e.g., Merck/Vytorin, 2012 WL 4482041, at *5 (finding market was efficient and plaintiffs

were entitled to presumption of reliance based in part on defendant company’s eligibility to file

Form S-3).

                       e.     Fifth Cammer Factor: The Cause and Effect Relationship
                              between Energy Transfer-Specific News and Energy Transfer’s
                              Stock Price

        “[O]ne of the most convincing ways to demonstrate [market] efficiency [is] to illustrate,

over time, a cause and effect relationship between company disclosures and resulting movements

in stock price.” Cammer, 711 F. Supp. at 1291. While “[c]ourts have rejected the idea that the

fifth Cammer factor is necessary to establish market efficiency,” empirical evidence of a cause and

effect relationship between corporate news events and a company’s share-price movements

supports a finding of market efficiency. DFC Global, 2016 WL 4138613, at *12; see also id. at

*13 (market efficiency does not require that this factor or any other single Cammer factor be

satisfied).

        To assess this factor, Mr. Coffman conducted an event study on Energy Transfer’s daily

common unit prices. Coffman Rpt. ¶¶49-51. An event study provides “a statistical regression

analysis that examines the effect of an event on a dependent variable, such as a corporation’s stock

price.” DFC Global, 2016 WL 4138613, at *13 (quoting United States v. Schiff, 602 F.3d 152,

173 n.29 (3d Cir. 2010)). “[T]here is no dispute that [an event study] is widely accepted in the

academic community and in the courts” to prove the cause-and-effect relationship contemplated

by Cammer. Prudential, 2015 WL 5097883, at *6.




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       Mr. Coffman’s event study “demonstrates a clear cause-and-effect relationship between

new material news and changes in the market price of Energy Transfer Common Units during the

Class Period.” Coffman Rpt. ¶67.5 Using a well-established methodology, Mr. Coffman first

created regression models to control for market and industry wide factors that might influence the

price of Energy Transfer common units. Id. ¶¶50-51. These models allowed him to isolate the

change in Energy Transfer’s common unit price that can be attributed to Company-specific news

by finding the difference between the actual price movement on a given day and the movement

predicted by the regression model (which, as noted above, controls for market and industry

factors). Id. ¶¶53-54.

       With this data in hand, Mr. Coffman then examined the price changes in Energy Transfer

common units on two sets of days: (1) days during the Class Period on which Energy Transfer

made earnings announcements, and (2) days during the Class Period on which no news articles or

analyst reports about Energy Transfer were released, and the Company did not make SEC filings

or issue press releases. Id. ¶¶59-62. Because it is more likely that material, new information about

the Company would be released to the market on days with earnings announcements than on days

with no identified news released or Company SEC filings or press releases, in an efficient market,

one would expect to find a greater percentage of earnings announcement days with a statistically

significant stock price movement—i.e., a movement that could not be accounted for by random

chance alone. Id.

       That is precisely what Mr. Coffman found. His analysis shows that Energy Transfer

common units exhibited a statistically significant price change at the 95% confidence level or


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  Mr. Coffman’s methodology has been accepted by numerous courts under the current state of the
law. See, e.g., In re NII Holdings, Inc. Sec. Litig., 311 F.R.D. 401, 412 (E.D. Va. 2015); In re
Barrick Gold Sec. Litig., 314 F.R.D. 91, 104-06 (S.D.N.Y. 2016).


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greater on 45.45% of earnings announcement days, but had no significant price changes on any of

the days without any news, analyst reports, SEC filings, or Company press releases—a difference

across those two sets of days that is itself highly statistically significant. Id. ¶62 & n.66. In

addition, both the magnitude of the average change in the price of Energy Transfer common units

and the daily trading volume were statistically significantly higher on earnings announcement days

as compared to days without news, analyst reports, SEC filings, or press releases. Id. ¶¶63-65.

Based on this analysis, Mr. Coffman concluded that there was “a strong cause-and-effect

relationship between new, Company-specific news and rapid changes in the price of Energy

Transfer Common Units.” Id. ¶66; see also, e.g., Teamsters Loc. 445 Freight Div. Pension Fund

v. Bombardier Inc., 546 F.3d 196, 207-08 (2d Cir. 2008) (observing that an event study “has been

considered prima facie evidence of existence of such a causal relationship”).

                       f.     First Krogman Factor: Large Market Capitalization

       “Market capitalization, calculated as the number of shares multiplied by the prevailing

share price, may be an indicator of market efficiency because there is a greater incentive for stock

purchasers to invest in more highly capitalized corporations.” DVI, 249 F.R.D. at 212 (quoting

Krogman, 202 F.R.D. at 478). During the Class Period, Energy Transfer’s market capitalization

averaged $26.28 billion, greater than at least 91% of the firms listed on the NYSE and NASDAQ

exchanges. See Coffman Rpt. ¶69. This large market capitalization supports a finding of market

efficiency. Id. ¶70; see also DVI, 249 F.R.D. at 212 (market capitalization ranging between $12

million to $300 million indicative of market efficiency).

                       g.     Second Krogman Factor: Narrow Bid-Ask Spread

       “The bid-ask spread is the difference between the price at which investors are willing to

buy the stock and the price at which current stockholders are willing to sell their shares,” with

narrower bid-ask spreads associated with more efficient markets. See Krogman, 202 F.R.D. at


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478. “A large bid-ask spread is indicative of an inefficient market, because it suggests that the

stock is too expensive to trade.” Id. The bid-ask spread for Energy Transfer units throughout the

Class Period was between 0.017% and 0.049%. Coffman Rpt. ¶72. By comparison, the average

month-end bid-ask spread during the final month of the Class Period (October 2019) was 0.84%.

See Coffman Rpt. ¶72. This narrow bid-ask spread further indicates market efficiency. See id.;

cf. Cheney v. Cyberguard Corp., 213 F.R.D. 484, 501 (S.D. Fla. 2003) (finding bid-ask spread of

2.44 percent weighed in favor of market efficiency).

                       h.      Third Krogman Factor: Large Public Float

       In determining efficiency, courts also consider public float, i.e., “the percentage of shares

held by the public, rather than insiders.” Krogman, 202 F.R.D. at 478. “Because insiders may

have private information that is not yet reflected in stock prices, the prices of stocks that have

greater holdings by insiders are less likely to accurately reflect all available information about the

security.” Id. During the Class Period, Energy Transfer’s float averaged 77.99% of shares

outstanding. See Coffman Rpt. ¶73. Energy Transfer’s float further indicates efficiency. Id.

                                  *       *       *       *       *

       Taken together, the five Cammer factors and the three Krogman factors strongly support

the conclusion that Energy Transfer units traded in an efficient market throughout the Class Period.

See Coffman Rpt. ¶¶24-73. Plaintiffs and the Class are thus entitled to invoke the fraud-on-the-

market presumption of reliance.

               2.      Plaintiffs’ Section 10(b) Claims Are Entitled to a Presumption of
                       Reliance Under Affiliated Ute

       Plaintiffs are also entitled to a presumption of reliance for their Section 10(b) claims under

Affiliated Ute, which provides that for claims involving a failure to disclose, “positive proof of

reliance is not a prerequisite to recovery.” 406 U.S. at 153-54. Instead, “[a]ll that is necessary is



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that the facts withheld be material in the sense that a reasonable investor might have considered

them important in the making of [their] decision.” Id. Plaintiffs’ Section 10(b) claims allege that

throughout the Class Period, Defendants’ public statements omitted numerous material facts

regarding Energy Transfer’s construction of the Mariner East pipeline projects that were necessary

to make those statements not misleading. ¶¶478-86. The Court upheld these allegations following

extensive briefing. Allegheny Cty. Emps.’ Ret. Sys. v. Energy Transfer LP et al., 2021 WL

1264027 (E.D. Pa. Apr. 6, 2021). Because the Complaint alleges numerous actionable omissions,

the Class is entitled to rely on the Affiliated Ute presumption to establish reliance.

       B.      A Class Action Is Superior to Other Available Methods for the Fair and
               Efficient Adjudication of This Action

       Rule 23(b)(3) directs courts to consider four factors in evaluating whether “a class action

is superior to other available methods for fairly and efficiently adjudicating the controversy.”

These factors are: (i) the interest of class members in individually controlling separate actions; (ii)

the extent and nature of any litigation already underway; (iii) the desirability of concentrating the

litigation in the forum; and (iv) the manageability of a class action. Fed. R. Civ. P. 23(b)(3)(A)-

(D). Here, each factor favors certification.

       Superiority “is easily satisfied in securities fraud cases where there are many individual

plaintiffs who suffer damages too small to justify a suit against a large corporate defendant.” In

re Heckmann Corp. Sec. Litig., 2013 WL 2456104, at *8 (D. Del. June 6, 2013). First, Plaintiffs

are unaware of any Class member who would prefer to prosecute his or her claims individually.

Second, Plaintiffs are aware of no individual litigation seeking the same redress as the Complaint.

Third, the geographical dispersion of Class members means that it is desirable for their claims to

be litigated in a single forum to avoid inconsistent adjudications and promote fairness and

efficiency. Finally, this case presents no unusual management difficulties. Judicial economy and



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the best interests of the Class thus favor class certification, and the alternative would deprive the

Class of any practical recourse.

III.    THE PROPOSED CLASS IS ASCERTAINABLE

        Where “[t]here are objective records that can readily identify . . . class members,” the

ascertainability requirement is satisfied. Byrd v. Aaron’s Inc., 784 F.3d 154, 169 (3d Cir. 2015);

see also In re Cmty. Bank of N. Va. Mortg. Lending Pracs. Litig., 795 F.3d 380, 397 (3d Cir. 2015)

(ascertainability satisfied where class members identifiable by reference to bank records). The

Class here includes all persons and entities who purchased or otherwise acquired Energy Transfer

units during the Class Period and suffered losses, a group that can be readily identified by reference

to records of unit acquisitions. Accordingly, the proposed class is ascertainable. See Utesch, 2021

WL 3560949, at *11 (finding ascertainability where “Plaintiffs propose[d] a definite class relying

on objective criteria”).

IV.     BLB&G AND BARRACK RODOS SHOULD BE APPOINTED CLASS
        COUNSEL

        In appointing class counsel, courts consider counsel’s work “in identifying or investigating

potential claims,” “experience in handling class actions,” “knowledge of the applicable law,” and

“the resources that counsel will commit to representing the class.” Fed. R. Civ. P. 23(g)(1). As

set forth above, these factors favor appointing BLB&G and Barrack Rodos as Class Counsel. See

supra § I.D.     Here, BLB&G and Barrack Rodos have worked together cooperatively and

seamlessly to investigate the Plaintiffs’ claims, largely overcome Defendants’ motion to dismiss,

pursue discovery of Defendants and third parties, and prepare and file the instant motion for class

certification.   Joint Declaration ¶¶9-10. These two firms are experienced and qualified in

prosecuting securities class actions and they have brought to bear significant resources on the

efficient and zealous pursuit of Plaintiffs’ claims (and will continue to do so). In addition to their



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individual case achievements, the two firms have worked together as co-lead counsel in achieving

the largest recovery in a securities class action in this Circuit, in the Cendant case ($3.32 billion

recovered for the class), as well as significant recoveries for classes of investors in WorldCom

(S.D.N.Y., $6.19 billion), McKesson (N.D. Cal., $1.05 billion), DaimlerChrysler (D. Del., $300

million), Mills (E.D. Va., $202.75 million), and DFC Global (E.D. Pa., $30 million), among others.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion should be granted.

 Dated: September 17, 2021                         Respectfully submitted,

                                                   BARRACK, RODOS & RACINE

                                                   /s/ Jeffrey W. Golan
                                                   Jeffrey W. Golan
                                                   Robert A. Hoffman
                                                   Jeffrey A. Barrack
                                                   Chad A. Carder
                                                   Meghan J. Talbot
                                                   3300 Two Commerce Square
                                                   2001 Market Street
                                                   Philadelphia, PA 19103
                                                   Telephone: (215) 963-0600
                                                   Facsimile: (215) 963-0838
                                                   jgolan@barrack.com
                                                   rhoffman@barrack.com
                                                   jbarrack@barrack.com
                                                   ccarder@barrack.com
                                                   mtalbot@barrack.com

                                                   John C. Browne (admitted pro hac vice)
                                                   Adam H. Wierzbowski (admitted pro hac
                                                   vice)
                                                   Michael M. Mathai (admitted pro hac vice)
                                                   James M. Fee (admitted pro hac vice)
                                                   BERNSTEIN LITOWITZ BERGER
                                                      & GROSSMANN LLP
                                                   1251 Avenue of the Americas
                                                   New York, NY 10020
                                                   Telephone: (212) 554-1400
                                                   Facsimile: (212) 554-1444



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                                 johnb@blbglaw.com
                                 adam@blbglaw.com
                                 michael.mathai@blbglaw.com
                                 james.fee@blbglaw.com

                                 Co-Lead Counsel for Lead Plaintiffs and
                                 Proposed Class Counsel

                                 John D. Zaremba
                                 ZAREMBA BROWN PLLC
                                 40 Wall Street
                                 52nd Floor
                                 New York, NY 10005
                                 Telephone: (212) 380-6700
                                 jzaremba@zarembabrown.com

                                 Additional Counsel for Lead Plaintiff and the
                                 Class




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